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                           EXHIBIT 31
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                       IN THE COMMONWEALTH COURT OF PENNSYLVANIA

     COMMONWEALTH OFPENNSYLVANlA
     BY ATTOUNEY GENEUAL
     THOMASW, COMETT,JR.,

                      Pctilloner,

                 v.                                   CIVIL ACTION - EQUITY
     VEIISATILE MARKETING SOLUTIONS,
     INC. t/dfb/a VMS ALAllMS,.

                      UeBpondcnt


                              ASSURANCE OF VOLUNTARY COMPLIANCE

            AND NOW, comes the Commonwealth of Pennsylvania, acting by Attorney General

     Thomas W. Corbett, Jr., through the Bmeau of Consumer Protection (hereinafter

     "Commonwealth"), which has caused an investigation to be made into the business practices of

     Versatlle Marketing Solutions, Inc, t/d/b/a VMS ;\Janns pursuant to the provisions of the Urifair

     Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1 -- 201-9.3 (hereinafter

     "Consumer Protection Law"), and states the following:

            WHEREAS, Petitioner is the Commonwealth of Pellllsylvania, acting by Attorney

     General Thomas W. Corbett, Jr., through his Bmeau ofConsume1· Protection, with offices

     located at Strawberry Square, 15 1h Floor, Hai'l'isburg, Pe1msylvania 17120;

            WHEREAS, Respondent Versatile Marketing Solutions, Inc., t/d/b/a VMS Alanns

     (hereinafter "Respondent"), ls a Massachusetts business corporation with a registered business

     address of1251 Church Street, #7, New Bedford, Massachusetts 02745. Respondent also

     maintains a business address at 60 Jefferson Park Road, Warwick, Rhode Island 02888.

     Respondent operates from a principal business address of316 Pocasset Avenue, Suite 205,

     Providence, Rhode Island 02909;




                                                                                                         MEY533173
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              WHEREAS, Respondent, at all times relevant hereto, engaged Jn trade and commerce

     within the Commonwealth of Pennsylvania through the solicitation and sale of home secudty

     alarm systems;

              WHEREAS, Respondent is registered with the Pennsylvania Department of State

     Corporation Buremi as a foreign business corporation with a registered address of21 E. North

     Street, Bethlehem, Pennsylvania 18018;

              WHEREAS, VMS Alarms Is not registered as a fictitious name with the Pemtsylvanla

     Department of State Corporation Bureau;

              WHEREAS, based upon Its Investigation, the Commonwealth believes that Respondent

     has engaged in conduct which violated the Consumer Protection Law and the Telemarketer

     Registration Aot, 73 P.S. § 2241, et seq. (hereinafte1· "Telemarketer Act"), as more fully set forth

     below:

              1.    Beginning in June 2008, the Commonwealth began receiving consumer

     complaints regarding the telemarketing practices of Respondent.

              2.      According to the complaints, Respondent, using the name VMS Alarms, made

     telephone so Iicitation calls to Pennsylvania consumers who had registered their telepho11e

     1111111bers on the Pennsylvania Do Not Call list.

              3.      On December 19, 2008, the Commonwealth issued a waming letter to Respondent

     regarding Respondent's alleged violations of the Telemarketer Act.                A copy of the

     Commonwealth's warning letter ls attached and incorporated hereto as Exhibit "A".

              4.      On February 9, 2009, Respondent registered as a telemarketer with the Office of

     Attorney General pursuant to the Telemarketer Act.




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            5.      Since the issuance of the waming letter, the Commonwealth has continued to

     receive consumer complaints regarding the telemarketing practices of Respondent, including

     calls made to phone numbers registered on the Pennsylvania Do Not Call list and continued calls

     to consumers who.have Indicated that they no longe1· wish to receive calls from Respondent.

            6.     The aforesaid methods, acts or practices constitute. violations of the Telemarketer

     Act, including the following:

                    a.     Between June 2008 and Febrnary 2009, Respondent engaged in

            telemarketing in the Commonwealth of Pennsylvania by initiating telephone calls to

            consumers in connection with the purchase of consumer or goods or services, without

            having registered with the Office of Attorney General, in violation of Section 2243(a) and

            (b) of the Telemarketel' Act, 73 P.S. § 2243(a) and (b).

                   b.      Respondent initiated or caused to be initiated telephone solicitation calls to

            the telephone numbers of consumers whose names, addresses and telephone number had

            been enrolled on the quarterly Pennsylvania Do Not Call list that was in effect on the date

           . that Respondent made OJ' caused to be made said telephone solicitation calls, in violation

            of the Section 2245.2(a) of the Telemarketer Act, 73 P.S. § 2245.2(a).
                    c.     Respondent initiated or caused to be initiated outbound telephone calls to

            persons who previously had stated that he or she did not wish to receive an outbound

            telephone call made by or on behalf of the seller whose goods or services were being

            offered, in violation of Section 2245(a)(2) of the Telemarketer Act, 73 P,S. § 2245(a)(2).

            WHEREAS, violations of the Telemarketer Act are violations of the Consumer

     Protection Law, 73 P.S. § 2246;




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                                                                                                                          II
             WHEREAS, the aforesaid methods, acts or p1·actices constitute unfak methods of

      competition and/or unfair or deceptive acts or practices in the conduct of trade or commerce in                     r
     violation of the Consumer Protection Law, including without lhnitation, the following:

                     1)     Causing likelihood of confusion or of misunderstanding as
                                                                                                                          l
                            to a;flillatlon, connection 01· association with, or
                            ce1tification by, another in violation of 73 ·p,s, § 201·
                            2(4)(lll); and       ·

                     2)     Engaging In any other fraudulent or deceptive conduct
                            which creates a likellhood of confusion or of
                            misunderstanding in violation of73 P.S. § 201-2(4)(xxi).

             WHEREAS, Respondent violnted the Fictitious Names Act, 54 Pa.C.S.A. § 301, et seq.,                          I
                                                                                                                          I
                                                                                                                          t
     by using the fictitious name VMS Alarms without fast reglstet'ing that name with the

     Pennsylvania Department of State Corporation Bureau;

             WHEREAS, Respondent is desirous of complying with these civil laws of the

     Commonwealth and has agreed to cease and desist from the aforementioned conduct;

             WHEREAS, this Assurance of Voluntary Compliance ("Assurance") is accepted by the

     Commonwealth pursuant to Section 201-5 of the Consumer Protection Law, 73 P.S. § 201-5, in

     Heu ofcommencing statutory proceedings under Section 201-4, 73 P.S. § 201-4; and

             WHEREAS, the Respondent acknowledges that nothing in this Assurnnce ofVoluntary

     Compliance shall be construed as an approval by the Commonwealth of any past, present or

     future conduct or business practices of the Respondent.

                                          SETTLEMENT TERMS

             NOW THEREFORE, effective from the date of the signing of this Assurance of

     Voluntary Compliance, Respondent agrees for itself, its successors, assigns, officers, dil'ectors,

      agents, employees, and any and all other persons acting on its behalf through this or any other

     corpornte or business device   as follows:
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                                                                                                                        i
     I.

     II.
             The Recitals are incorporated herein and made pait hereof.

             lnlunctiye ancl Affi1•mntiye Relief
                                                                                                                        ~
             A.     Respondent shall fully comply with any and all provisions of the Consume!'
                                                                                                                        r
                                                                                                                        l


     Protection Law, including any amendment thereof, and is pel'manently enjoined from any

     violation thereof.

            B.      Respondent shall folly comply with any and all provisions of the Telemarketer

     Act, including any amendment thereof, and is perll)anently enjoined from any violation thereof.

             C.     Respondent shall not make telephone solicitation calls to telephone si1bsc1'.ibe1·s

     enrolled on Pennsylvania's Do Not Call list, ln accordance with 73 P.S. § 2245.2(a).

             D.     Respondent shall qua1terly obtain listings of residential or wireless telephone

     subscribers in the Commonwealth of Pennsylvania who have airnnged to have their names,

     addresses and telephone numbers enrolled on the list administrator's do-not-call list or shall
                                                    '                '

     utilize a service provider who has quarterly obtal11ed and will use such listings, in accorda11ce

     with 73 P.S. § 2245.2(b).

            E.      Respondent shall not Initiate outbound telephone calls to any person when that

     person previously has stated that he or she does not wish to J'eceive an outbound telephone call

     made by or on behalf of the seller whose goods or services are being offered, in accordance with

     73 P.S. § 2245(a)(2).
             F.     Respondent shall register any fictitious name used in the conduct <if its business ln

     Pennsylvania with the Pennsylvania Department of State Corporation Bureau, in accordance with

     54 Pa.C.S.A. § 303(b).

     ill.    Monetarv Relief




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                                                                                                             I
            A.     Upon execution of this Assurance of Voluntary Compliance, Respondent shall be

     llab)e fol' and shall pay to the Commonwealth of Pennsylvania, Office of Attomey General, the

     sum of Twenty-Eight Thousand and 00/100 Dollars ($28,000.00), which shall be allocated as

     follows:

                   1.     The amount of Twenty Thousand and . 00/100 Dollars

                          ($20,000.00) as a civil penalty, of which ten percent (10%)

                          shall be !'emitted by the Office of Attorney General to

                          consumel'S whe> filed telemarketing complaints against the

                          Respondent In accol'dance with 73 P.S. § 2245.2(k)(2); and,

                          the. balance of which shall be distributed to the

                          Commonwealth of Pennsylvania, Treasury Department.

                   2.     The amount of Eight Thousand and 00/100 Dollars

                          ($8,000.00) in costs to be distl'ibuted to the Commonwealth

                          of Pennsylvania, Office of Attomey General, .to .be

                          deposited Into an interest-bearing account from which both

                          pl'incipal and interest shall be used for future public

                          protection and edu.catlonal purposes.

            B.     Payment Te1•ms

                   I.     Respondent shall pay 1\vo ·Thousand Five Hundred and

                          00/100 Dollars ($2,500.00) upon its execution of this

                          Assurance of Voluntary Compliance.

                   2. ·   Thereafter, Respondent shall pay the balance of Twenty·

                          Five Thousand Five Hundred and 00/100 Dollars

                                                    6


                                                                                                 MEY533178
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                                                                                                         I
                       ($25,500.00) in seventeen (17) monthly installments of One

                       Thousand Five Hundred and 00/100 Dollars ($1,500.00).                             ~
                       Such monthly payments shall be due and payable on the                             I
                       first day of each month slatting with August l, 2010.

                 3.    Respondent further agrees that in the event ofdefuult on the

                       part of Respondent, the entire o\1tstanding amount as noted

                       above shall immediately become due and payable to the

                       Commonwealth. A default on the part of Respondent shall

                       include, but not be limited to, Respondent defaulting on,

                       not complying with, or in any way breaching any of the

                       terms,    l'epresentations,       conditions,   ag1·eements ·   01·


                       requh'ements of this Assmance of Voluntary Compliance.

                       Any failure by Respondent to make a scheduled payme11t

                       within ten (10) days of its due date shall be considered a

                       violation ofthls Assurance ofVolnntary Compliance.

                 4.    All payments due under this Assm·ance of Voluntary

                       Compliance shall be in the form of certified checks,

                       cashiers checks,   Ol'   money orders, made payable to the
                       Commonwealth. of Pennsylvania, Office of Attomey

                       General, and delivered to the Bureau o{ Consumer

                       Protection, 15111 Floor Strawberry Square, Harl'isbm·g,

                       Pennsylvania 17120.

     IV.   Miscellaneous Terms


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                                                                                             MEY533179
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               A.     The Court shall maintainjm·isdiction over the subject malte1• of this Assurance of

     Voluntary Compliance and over Respondent for the purpose ofenforcing this Assurance.

               B.     Time shall be of the essence with regards to Rospondenf's obligations hereunder.

               C.     Nothing in this Assurance ot'Voluntary Compliance shall be construed to waive

     or limit any right of action by any individual, person or entity, or by any local, state, federal or

     other governmental entity.

               D.     Respondent certifies that Jasjit Gotra, President of Versatlle Marketing Solutions,

     Inc., is authorized to enter into this Assul'ance of Voluntary Compliance on behalf of the

     ·Respondent and that his signahu·e on this document binds the Respondent to all terms contained

     herein.

               E.   · Respondent filrther agrees to execute and deliver all authol'izations, documents

     ai1d instruments which are necessary to cany out the terms and conditions of thls Assurance of

     Voluntary Compliance.

               F.     Any failure of the Commonwealth to exercise any of its rights t1\1der this

     Assurance of Voluntary, Compliance shall not constitute a waiver of its rights hereunder.

               G.     This Assurance of Voluntary Compliance shall bind Respondent hel'elo and its

     successors, assigns, officers, directors, agents, employees and all other persons acting on its

     behalf through this or any othei· corporate or business device.

               H.     This Assurance of Voluntary Compliance may be executed in any number of

     counte1pa1ts and by different signatories on separate counterpart, each of which shall constitute

     an oi·iglnal counterpa1t hereof and all of which together shall constitute oi1e and the same

     document. One or more counterparts of this agreement may be delivered by facsimile or




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      electronic trn11smlsslon with the intent that it or they shall constitute an original counterpa1t

      hereof

               I.     This Assurance ofVoluntary Compliance sets forth all of the promises,

      covenants, ag1·eeme11ts, conditions and understandings between the pmties, w1d supersedes all

      prior and .contemporaneous agreements, understandings, inducements or conditions, express or

      implied. Thel'e are no !'epresentatlous, ai·rangements, 01· understandings, oral 01· written, between

      the Parties relating to the subject matter oflhls Assurnnce that m·e not fully expressed herein or

      attached hereto. Each party specifically warrants that this Assurance is .executed without reliance

      upon any statement or representation by any other party hereto, eKcept as expressly stated herein.

               J.     Respondent understands and agrees that if it has made any false statement In or

      related to this Assura1ice ofVolunta1·y Compliance, that such statement Is made pursuant to and

      under penalty of 18 P.S. § 4904 relating to unsworn falsifications to authorities.

               K.     Respondent agrees by the signing of this Assurance of Voluntary Compliance that

      It shall abide by each of the aforementioned provisions and that the breach of any one of these

      terms of this Assurance of Volunta1·y ·Compliance shall be sufficient warrant for the

      Commonwealth of Pellnsylvania to petition the Commonwealth Court, 01· any comt of competent

      jul'lsdiction, to assess the penalties provided for under Sections 201·8, 201·9, and 201-9.1 of the

      Consumer Protection Law, 73 P.S. §§ 201-8, 201-9 and 201-9.1, and to order any other equitable

      reliefwhlcl1 the Court deems necessftl'Y-Or proper.

               L,     This Assurance ofVoluntm·y Compliance shall have the same force and effect as

      a Permanent Injunction issued pursuant to Section 201-4 ofthe Consumer Protection Law, 73

      P.S. § 201·4.
                                             [Signatures on following page]




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                                                                                                              MEY533181
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      WHEREFORE, intending to be legally bound, the pai1ies have hereto set theit' hands and seals.

                                          FOR THE PETITIONER: .

                                          COMMONWEALTH OF PENNSYLVANIA
                                          THOMAS W. CORBB'IT, JR.
                                          A'ITORNBY GENERAL



      Date:~_O_ _                 By:.·   ~~
                                          Michael C. Gerdes
                                          Deputy Attomey General
                                          Attorney No. 88390
                                          Bureau of Consume1· Protection
                                          151h Floor Strawberry Square
                                          Harl'lsburg, Pennsylvania 17120
                                          Telephone: 717-787-9707
                                          Facsimile:     717-705-3795



                                          FOR THE RESPONDENT:
                                          VERSATILE MARKETING SOLUTIONS, INC.
                                          t/d/b/a VMS AL RMS



      Date:   ~laq \I 0           By:
                                          Jasjlt Gotra, P1-esident
                                          Versatile Marketing So iutions, Inc.
                                          60 Jefferson Park Road
                                          Warwick, Rhode Island 02888
                                                                                                                  I
                                                                                                                  I
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                                                    JO


                                                                                                      MEY533182
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                           RESOLUTION OF THE BOARD OF DIRECTORS

                                                     OF

                            VERSATILE MARKETING SOLUTIONS, INC.
                                                                                                                lr
                                                                                                                !



             The Board ofDh'ectors and Officers of VERSATILE MARKETING SOLUTIONS, INC,

      met on the   .f£l day of   'J{!N\l.< , 201 O, and approved the following resolution:

            RESOLVED, that Jasjit Gotra, P1·esident of Versatile Marketing Solutions, Inc.
            ("VMS"), is hereby authorized and empowered on behalf of VMS to enter into an
            Assurance of Voluntary Compliance with the Commonwealth of Pennsylvania, Office of
            Attomey General, in settlement of Commonwealth v, Versatile Marketing Solutions. Inc.
            t/d/b/a VMS Alarms, upon the terms and conditions contained in the Assurnnoe of
            Voluntary Compliance attached hereto and made a part hereof.


             Filed with and attested to by the Secretary of this Corporation, this   S   day of

       ""» ,1,,¥(...,     '2010.




                                                                   [CORPORATE SEAL]




                                                                                                    MEY533183
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                          EXHIBIT "A''




                                                                        MEY533184
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                                     COMMONWEiAlnl OF PENNSYLVANIA
                                  OFFICE OF ATTORNEY GENERAL
                                           · December 19, 2008
    TOM CORBETT
   ATIORNEY G!:NSRAL
                                                                     Bureau of Consumer Protection
                                                                        15U• Floor Strawbeny Square
                                                                     Harrisburg, Pennsylvania 17120
                                                                           Telephone: 717.787.9707
                                                                            Facsimile: 717.787.1190

        REGULAR AND CERTXFIED MAIL #70010360000276998244
        Versatile Marketing Solutions, !no.
        Attn: Owner, Officer or Authorized Representative
        316 Pocasset Avenue
        Suite205
        Providence, RI 02909

                Re:    . James Phillips Complaint I Our File No. Z-004409-2008
                         Linda Mangan Complaint I Our File No. Z.004545-2008
                         William Kaelin Complaint/ Our File No. Z.004579-2008
                         Jaok LaMaroa Complaint I Our File No. Z-004751 ·2008
                         Roohelle Roseman Complaint I Our File No. Z-004794-2008
                         Jim Mancuso Complaint I Our File No. Z-005143·2008
                         Frances Damminger Complaint I Our File No. Z..005553-2008
                         Patricia Overbey Complaint I Our File No. Z.005915-2008
                         John I':,ewitzky Complaint I Our File No. Z-006020-2008
                         Kenneth Kastle Complaint/ Our File No. Z-006152-2008

        Dear Sir or Madam:
                After reviewing the above consumer complaints aud your responses thereto, we are
        of the opinion that Versatile Marketing Solutions, Inc. ("VMS") has engaged in conduct
        that violates the Pennsylvania Telemarketer Registration Act. 73 P.S. § 2241, et seq.
               Specifically, it is alleged that VMS has violated Section 2245.2 of this law which
        allows consumers to place their telephone number on a statewide "Do Not Call" registry
        and prohibits the placement of telephone solicitation calls to residential telephone nwnbers
        appearing on the Do Not Call list.
               Additionally, under Section 2243 of the Telemarketer Registration . Aot,
        telemarketers initiating telephone calls to consumers in the Commonwealth of
        Pennsylvania are required to register with the Pemisylvaula Office of Attorney General at




                                                                                                       MEY533185
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      Re: Versatile Marketing Solutions, Inc. - WAJlNING LE1TER
      December 19, 2008
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      least 30 days prior to offering for sale consumer goods or services through any medium.
      Please note that this r11gistratlon requirement is independent of the stat4te' s prohibition on
      placing teleph1me solicitation calls to consumers enrolled on the Do-Not-Call llst.
      lluslnesses which may be exempt ftom registration must still comply with the Do-Not-Call
      provisions of the law.

              The failure to comply with the Telemarketer Registration Act constitutes a
      violation of Pennsylvania's Unfair Trade Practices and Consumer Protection Law which
      authorizes penalties of up to $1,000 per violation and $3,000 violation for each violation
      involving a senior. We strongly recommend that you take diligent steps to ensure that your
      business complies with the Telemarketer Registration Act. A copy is enclosed for your
      review and reference. The Pennsylvania Do Not Call list Is available from the Direct
      Ml\\'keting Association, whioh can be reached at (212) 768-7277 or online at
      preference,the-dma.org. Additional lnfonnatlon on the Do Not Call program is available
      on our website, www.nocallsplease.com.

              Although we expect that Versatile Marketing Solutions, Inc. will monitor its
      business practices In order to comply with Pennsylvania law, be advised that the issuance
      of this warning letter does not preclude our office from using any consumer complaints
      already fi.\ed with us regarding your client's telemarketing practices should your client
      subsequently violate this statute. Any future violations will be considered to be wlllful and
      may constitute grounds for legal action.

             Thank you in advance for your attention to this matter.
                                                             Very truly yours,

                                                            ~
                                                            Michael C. Gerdes
                                                            Deputy Attorney General

      Enclosure




                                                                                                        MEY533186
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                      IN THE COMMONWEALTH COURT OF PENNSYLVANIA

   COMMONWEALTH OF PENNSYLVANIA                     1
   BYA1~0RNEYGENERAL
   THOMAS W. CORBETT, JR.,

                     Petitioner,

                v.
                                                    . CIVII, ACTION - EQUITY
                                                   ,•
   VERSATILE MARKETING SOLU1'IONS,
   INC. t/d/b/a VMS ALARMS,

                     Respondent


                                    CERTIFICATE OF SERVICE


           I hereby certify that on the   .;;\>~ day of ..::JU\.y         , 2010 a true and con-ect

    copy of the foregoing Assurance of Volunta1y Compliance was served by means of United States

    ri1ail, ovemight mail, postage prepaid, upon the following:

                                              Jasjit Gotra
                                   Versatile Marketing Solutions, Inc.
                                        60 Jefferson Park Road
                                     Watwick, Rhode Island 02888




                                                   ~~
                                                   Michael C. Gerdes
                                                    Deputy Attomey General
                                                  · Attorney ID No. 88390
                                                    Bureau of Consumer Protection
                                                    Strawberry Square - 151h Floor
                                                    Harrisburg, Pennsylvania 17120
                                                    Telephone: 717-787-9707
                                                    Fax: 717-705-3795




                                                                                                      MEY533187
